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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

        Plaintiffs,                              Case No. 1:20-cv-3010

 v.                                              HON AMIT P. MEHTA

 GOOGLE LLC,

        Defendant.



 STATE OF COLORADO, et al.,

        Plaintiffs,                              Case No. 1:20-cv-3010

 v.                                              HON AMIT P. MEHTA

 GOOGLE LLC,

        Defendant.



      THE NEW YORK TIMES COMPANY’S MOTION TO INTERVENE AND FOR
                     ACCESS TO JUDICIAL RECORDS

       Pursuant to Federal Rule of Civil Procedure 24(b), The New York Times Company (“The

Times”), by and through its undersigned counsel, hereby moves to intervene in this matter for the

limited purpose of seeking access to judicial records that are sealed or have otherwise not been

made publicly available. In support of this motion, The Times relies on the accompanying

Memorandum of Points and Authorities. As demonstrated in that Memorandum, The Times’s

limited intervention in this matter is proper and the Court should unseal or make available the

requested records.
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       Pursuant to Local Rule 7(m), undersigned counsel for The Times certifies that it

contacted Plaintiffs, Google, and Apple to determine whether they oppose the relief sought in

this motion.

       The DOJ Plaintiffs do not take a position on the motion but asked The Times to include

this statement: “The United States has and will continue to advocate for public access, see e.g.

August 11, 2023 Status Hearing Transcript at 62-63 re: public access line (Dkt. No. 644), Joint

Status Report re: Public Posting of Trial Exhibits (Dkt. No. 714), Submission re: Confidentiality

of Apple Testimony (Dkt. No. 716); Public Posting of Trial Exhibits (Dkt. No. 725), and at this

time takes no further position on intervenor’s requests.”

       Google opposes The Times’s requests to unseal two specific exhibits and any

declarations submitted in connection with sealing requests. It also opposes The Times’s requests

to unseal the Cue and Dischler transcripts and any briefs submitted in connection with requests

to seal portions of those witnesses’ testimony. As to The Times’s request that the Court modify

its September 28, 2023, Order on Posting Trial Materials, Google said it “believe[s] the existing

processes are adequate and consistent with appropriate public access in this matter” and would

not comment further without seeing The Times’s motion.

       The State Plaintiffs and Apple did not respond with their position on The Times’s

motion.




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Dated: October 16, 2023   Respectfully submitted,

                          /s/ Al-Amyn Sumar
                          Al-Amyn Sumar (#1614655)
                          David McCraw (#NY0200)
                          Dana R. Green (#1005174)
                          The New York Times Company
                          1627 I Street NW, Suite 700
                          Washington, DC 20006
                          Telephone: (646) 306-4201
                          Facsimile: (212) 556-4634
                          al-amyn.sumar@nytimes.com
                          mccraw@nytimes.com
                          dana.green@nytimes.com

                          Counsel for The New York Times Company




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